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      Exhibit A   Proposed Notice

      Exhibit B   RCA Handbook, pp. 11-12, 14, 22-25

      Exhibit C   http://www.rcahybrid.org/Apply

      Exhibit D   Screen shots

      Exhibit E   Declaration of Marie Kruse (“Kruse Aff.”) at ¶4

      Exhibit F   Facebook Ads

      Exhibit G   Declaration of Flora Burke at ¶¶ 3, 6

      Exhibit H   Declaration of Julie Varchetti

      Exhibit I   May 20, 2015 Email from RCA to J. Varchetti

      Exhibit J   FLSA 2006-18 (June 1, 2006)
